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 UNITED STATES DISTRICT COURT                                     DOC #: _ _ _"'T""'""-1'-:--r--=--
 SOUTHERN DISTRICT OF NEW YORK
                                                                  DATE FILED:_;l~~'+-J---1-
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                                                                    ORDER GRANTING IN PART
                                                                    AND DENYING IN PART
 IN RE GREENSKY SECURITIES LITIGATION                               MOTIONS TO DISMISS

                                                                    18 Civ. 11071 (AKH)

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ALVIN K. HELLERSTEIN, U.S.D.J.:
                 In this securities class action, purchasers of common stock sold by GreenSky, Inc.

("GreenSky") in its initial public offering ("IPO"), bring suit under the Securities Act of 1933

(the "Securities Act") against GreenSky, GreenSky officers and directors, and underwriters who

participated in the May 25, 2018 IPO. Plaintiffs' core claim is that GreenSky, in its offering

documents, failed adequately to disclose material changes in the composition of GreenSky' s

business, in violation of Sections 11, 12(a)(2), and 15 of the Securities Act, see 15 U.S.C.

§§ 77k, 77l(a)(2), 770, and in violation ofltems 303 and 503 of Regulation S-K, see 17 C.F.R.

§§ 229.303, 229.503(c).

                 On July 3, 2019, both (1) GreenSky officers and directors and (2) underwriters

involved in the IPO, moved to dismiss the second amended complaint for failure to state a claim

under Federal Rule of Civil Procedure 12(b)(6).

                  I heard oral argument on these motions to dismiss on November 25, 2019. For

the reasons stated on the record, the motions are denied. However, as to plaintiff Employees'

Retirement System of the City of Baton Rouge and Parish of East Baton Rouge's claims under

Section 12(a)(2) of the Securities Act of 1933, the motion to dismiss is granted because the

absence of causation is clear.




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              Defendants shall file an answer by January 13, 2020. The parties shall attend a

case management conference on January 23, 2020, at 2:30 p.m. to chart further progress in this

case. The Clerk is hereby directed to close the open motions (ECF Nos. 89, 92, 99, 101).



              SO ORDERED.

Dated:        November~2019
              New York, New York
                                                         ~      ~ --:
                                                         ALVIN K. HELLERSTEIN
                                                            United States District Judge




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